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                                          U.S. Department of Justice
[Type text]
                                                        United States Attorney
                                                        Southern District of New York

                                                        The Silvio J. Mollo Building
                                                        One Saint Andrew’s Plaza
                                                        New York, New York 10007


                                                        October 15, 2020
BY CM/ECF
The Hon. J. Paul Oetken
United States District Court for the
  Southern District of New York
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:     United States v. Segovia-Landa et al., 20 Cr. 287 (JPO)

Dear Judge Oetken:

        The Government writes to request a protective order in the above captioned matter. A
protective order is necessary to protect certain sensitive material, including identifying information
related to third parties. A proposed protective order, consented to and signed by the parties, is
enclosed.

                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 Acting United States Attorney for the
                                                 Southern District of New York

                                           by:      /s/
                                                 Kedar S. Bhatia
                                                 Assistant United States Attorney
                                                 (212) 637-2465
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 United States of America                                                          Protective Order

                 v.                                                                20 Cr. 287 (JPO)

 Marco Segovia-Landa,
 Ledif Perez-Perez,
 Lisandy Joaquin-Ortiz, and
 Jose Rivera,

                             Defendants.



        Upon the application of the United States of America, with the consent of the undersigned

counsel, and the defendants having requested discovery under Fed. R. Crim. P. 16, the Court

hereby finds and orders as follows:

        1. The Government has made and will make disclosure to the defendant(s) of documents,

objects and information, including electronically stored information (“ESI”), pursuant to Federal

Rule of Criminal Procedure 16, 18 U.S.C. §3500, and the Government’s general obligation to

produce exculpatory and impeachment material in criminal cases, all of which will be referred to

herein as “disclosure material.” The Government’s disclosure material may include material that

(i) affects the privacy, confidentiality and of individuals; (ii) would impede, if prematurely

disclosed, the Government’s ongoing investigation of uncharged individuals; (iii) would risk

prejudicial pretrial publicity if publicly disseminated; and (iv) that is not authorized to be disclosed

to the public or disclosed beyond that which is necessary for the defense of this criminal case.

NOW, THEREFORE, FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED:

        2. Disclosure material shall not be disclosed by the defendant or defense counsel, including

any successor counsel (“the defense”) other than as set forth herein, and shall be used by the
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defense solely for purposes of defending this action. The defense shall not post any disclosure

material on any Internet site or network site to which persons other than the parties hereto have

access, and shall not disclose any disclosure material to the media or any third party except as set

forth below.

        3. Disclosure material may be disclosed by counsel to:

            (a) Personnel for whose conduct counsel is responsible, i.e., personnel employed by or

retained by counsel, as needed for purposes of defending this action; and

            (b) Prospective witnesses for purposes of defending this action.

        4. The Government may authorize, in writing, disclosure of disclosure material beyond that

otherwise permitted by this Order without further Order of this Court.

        5. This Order does not prevent the disclosure of any disclosure material in any hearing or

trial held in this action, or to any judge or magistrate judge, for purposes of this action. However,

disclosure material pertinent to any motion before the Court should initially be filed under seal,

absent consent of the Government or Order of the Court. All filings should comply with the privacy

protection provisions of Fed. R. Crim. P. 49.1.

        6. Except for disclosure material that has been made part of the record of this case, the

defense shall return to the Government or securely destroy or delete all disclosure material,

including the seized ESI disclosure material, within 30 days of the expiration of the period for

direct appeal from any verdict in the above-captioned case; the period of direct appeal from any

order dismissing any of the charges in the above-captioned case; or the granting of any motion

made on behalf of the Government dismissing any charges in the above-captioned case, whichever

date is later.




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       7. The defense shall provide a copy of this Order to prospective witnesses and persons

retained by counsel to whom the defense has disclosed disclosure material or the Government’s

ESI production. All such persons shall be subject to the terms of this Order. Defense counsel shall

maintain a record of what information has been disclosed to which such persons.

       8. This Order places no restriction on a defendant’s use or disclosure of ESI that originally

belonged to the defendant.

                                    Retention of Jurisdiction

       9. The provisions of this order shall not terminate at the conclusion of this criminal

prosecution and the Court will retain jurisdiction to enforce this Order following termination of

the case.




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AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   Acting United States Attorney

                                                   October 15, 2020
by: _____________________________           Date: _____________________
    Kedar S. Bhatia
    Assistant United States Attorney


   ___________________________              Date: _____________________
   David Chidekel, Esq.
   Counsel for Marco Segovia-Landa


   ___________________________              Date: _____________________
   James M. Roth, Esq.
   Counsel for Ledif Perez-Pez


   ___________________________              Date: _____________________
   Dawn M. Cardi, Esq.
   Counsel for Lisandy Joaquin Ortiz


   ___________________________              Date: _____________________
   Benjamin C. Zeman, Esq.
   Counsel for Jose Rivera


SO ORDERED:

Dated: New York, New York
       August ___, 2020

                                            _________________________________
                                            THE HONORABLE J. PAUL OETKEN
                                            UNITED STATES DISTRICT JUDGE




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        Case 1:20-cr-00287-JPO Document 48 Filed 10/16/20 Page 7 of 9




AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   Acting United States Attorney


by: _____________________________           Date: _____________________
    Kedar S. Bhatia
    Assistant United States Attorney


   ___________________________              Date: _____________________
   David Chidekel, Esq.
   Counsel for Marco Segovia-Landa


   ___________________________                      September 29, 2020
                                            Date: _____________________
   James M. Roth, Esq.
   Counsel for Ledif Perez-Pez


   ___________________________              Date: _____________________
   Dawn M. Cardi, Esq.
   Counsel for Lisandy Joaquin Ortiz


   ___________________________              Date: _____________________
   Benjamin C. Zeman, Esq.
   Counsel for Jose Rivera


SO ORDERED:

Dated: New York, New York
       August ___, 2020

                                            _________________________________
                                            THE HONORABLE J. PAUL OETKEN
                                            UNITED STATES DISTRICT JUDGE




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Case 1:20-cr-00287-JPO Document 48 Filed 10/16/20 Page 8 of 9
        Case 1:20-cr-00287-JPO Document 48 Filed 10/16/20 Page 9 of 9




AGREED AND CONSENTED TO:

   AUDREY STRAUSS
   Acting United States Attorney


by: ____________                            Date:
    Kedar S. Bhatia
    Assistant United States Attorney


                                            Date:
   David Chidekel, Esq.
   Counsel for Marco Segovia-Landa


                                            Date:
   James M. Roth, Esq.
   Counsel for Ledif Perez-Pez


                                            Date:
   Dawn M. Cardi, Esq.
   Counsel for Lisandy Joaquin Ortiz



�--
                                            Date:

Counsel for Jose Rivera


SO ORDERED:

Dated: New York, New York
      Oct. 16, 2020

                                           THE HONORABLE J. PAUL OETKEN
                                           UNITED STATES DISTRICT JUDGE




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